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Form W-4 (2017)

Purpose. Complete Form W-4 so that your
employer can withhold the correct federal income
tax from your pay. Consider completing a new Form
W-4 each i and when your personal or financial
situation changes.

Exemption from withholding. If you are exempt,
complete only lines 1, 2, 3, 4, and 7 and sign the
form to validate it. Your exemption for 2017 expires
February 15, 2018. See Pub. 505, Tax Withholding
and Estimated Tax.

Note: If another person can claim you as a dependent
on his or her tax return, you can't claim exemption
from withholding if your total income exceeds $1,050
and includes more than $350 of unearned income (for
example, interest and dividends).

Exceptions. An employee may be able to claim
exemption from withholding even if the employee is
a dependent, if the employee:

* Is age 65 or older,
* Is blind, or

© Will claim adjustments to income; tax credits; or
itemized deductions, on his or her tax return.

The exceptions don't apply to supplemental wages
greater than $1,000,000,

Basic instructions. If you aren't exempt, pompiete
the Personal Allowances Worksheet below. The
worksheets on page 2 further adjust your
withholding allowances based on itemized
deductions, certain credits, adjustments to income,
or two-eamers/multiple jobs situations.

Complete all worksheets that apply. However, you
may Claim fewer (or zero) allowances. For regular
wages, withholding must be based on allowances
you claimed and may not be a flat amount or
percentage of wages.

Head of household. Generally, you can claim head
of household filing status on your tax return ay if
you are unmarried and pay more than 50% of the
Costs of keeping up a home for yourself and your
dependents) or other qualifying individuals.

Pub. 501, Exemptions, Standard Deduction, and
Filing Information, for information,

Tax credits. You can take projected tax credits into
account in figuring your allowable number of
withholding allowances. Credits for child or dependent
care expenses and the child tax credit may be claimed
using the Personal Allowances Worksheet below.
See Pub. 505 for information on converting your other
credits into withholding allowances.

Nonwage income. If you have a large amount of
nonwage income, such as interest or dividends,
consider making estimated tax payments using Form
1040-ES, Estimated Tax for Individuals. Otherwise,
you may owe additional tax. If you have pension or
annuity income, see Pub. 505 to find out if you should
adjust your withholding on Form W-4 or W-~4P.

Two earners or multiple jobs. If you have a
working spouse or more than one job, ague the
total number of allowances you are entitled to claim
on all jobs using worksheets from only one Form
W-4. Your withholding usually will be most accurate
when all allowances are claimed on the Form \W-4
for the highest paying job and zero allowances are
claimed on the others. See Pub, 505 for details.

Nonresident alien, If you are a nonresident alien, see
Notice 1392, Supplemental Form W-4 Instructions for
Nonresident Aliens, before completing this form.

Check your withholding. After your Form W-4 takes
effect, use Pub. 505 to see how the amount you are
having withheld compares to your projected total tax
for 2017. See Pub. 505, especially if your earnings
exceed $130,000 (Single) or $180,000 (Married).

Future developments. Information about any future
developments affecting Form W-4 (such as
legislation enacted after we release it) will be posted
at www. irs.goviw4,

Personal Allowances Worksheet (Keep for your records.)

A Enter “1" for yourself if no one else can claim you as a dependent . A /
* You're single and have only one job; or

B Enter “1” if: * You're married, have only one job, and your spouse doesn't work; or «x .s « B
* Your wages from a second job or your spouse's wages (or the total of both) are $1,500 or less.

Cc Enter “1" for your spouse. But, you may choose to enter “-0-" if you are married and have either a working spouse or more

than one job. (Entering “-0-" may help you avoid having too little tax withheld.) . Lo Cc

D Enter number of dependents (other than your spouse or yourself) you will claim on your tax return . x im % D

E Enter “1” if you will file as head of household on your tax return (see conditions under Head of household above) E

F Enter “1” if you have at least $2,000 of child or dependent care expenses for which you plan to claim a credit F

(Note: Do not include child support payments. See Pub. 503, Child and Dependent Care Expenses, for details.)

G Child Tax Credit (including additional child tax credit). See Pub. 972, Child Tax Credit, for more information.
* If your total income will be less than $70,000 {$100,000 if married), enter “2" for each eligible child; then less “1” if you
have two to four eligible children or less “2” if you have five or more eligible children.

* If your total income will be between $70,000 and $84,000 ($100,000 and $119,000 if married), enter “1” for each eligible child. G
H Add lines A through G and enter total here. (Note: This may be different from the number of exemptions you claim on your tax return.) ® H /

* If you plan to itemize or claim adjustments to income and want to reduce your withholding, see the Deductions

For accuracy, and Adjustments Worksheet on page 2.

complete all * If you are single and have more than one job or are married and you and your spouse both work and the combined
worksheets earnings from all jobs exceed $50,000 ($20,000 if married), see the Two-Earners/Multiple Jobs Worksheet on page 2
that apply. to\avoid having too little tax withheld.

* If neither of the above situations applies, stop here and enter the number from line H on line 5 of Form W-4 below.

<a Separate here and give Form W-4 to your employer. Keep the top part for your records. ---------------------------- wease-

ae W-4 Employee’s Withholding Allowance Certificate

Department of the Treasury > Whether you are entitied to claim a certain number of allowances or exemption from withholding is
Intemal Revenue Service subject to review by the IRS. Your employer may be required to send a copy of this form to the IRS.
1 Your first name and middle initial Last name
Mitz4 {> W941 +4
Home address (number and street or rural route) _ ‘
a3] Mie sty Pr In ri
City or town, state, and ZIP code J :
Cocconut|] Cwusee FO 33074

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2017

3 E¥ single [] maried L] Married, but withhold at higher Single rate.
Note: If married, but legally separated, or spouse is a nonresident alien, check the “Single” box.

4 If your last name differs from that shown on your social security card,
check here. You must call 1-800-772-1213 for a replacement card. > [7

5 Total number of allowances you are claiming (from line H above or from the applicable worksheet on page 2) 5
6 Additional amount, if any, you want withheld from each Paycheck . 2... ww 6 |S
7 | claim exemption from withholding for 2017, and | certify that | meet both of the following conditions for exemption.

° Last year | had a right to a refund of all federal income tax withheld because | had no tax liability, and
* This year | expect a refund of all federal income tax withheld because | expect to have no tax liability. |
If you meet both conditions, write “Exempt” here . eo be ge GG >{7/

Under penalties of perjury, | declare that | have examined this certificate and, to the best of my knowledge and belief, it is true, correct, and complete.

Employee's signature | z 1 tT # ma fre A
(This form is not valid unless you sign it.) » aH la pAn Le Date > pa is
8 Employer's name and address (Employer: Combiete lines 8 and 10 only if Seniing to the IRS.) 9 Office code (optional)| 10 Employer identification number (EIN)
SS st ON Winsor Pank cocconst cane
For Privacy Act and Paperwork Reduction Act Notice, see page 2. Cat. No. 102200 Form W~4 (2017)
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SOUTH FLORIDA WOMAN’S HEALTH ASSOCIATES

2345 W. Hillsboro Blvd 3850 Coconut Creek Pkwy
Suite 201 Suite 201
Deerfield Beach, FL 33442 Coconut Creek, FL 33066
954-427-4966 Phone 954-970-4966 Phone
954-427-6517 Fax 954-970-7894 Fax

New Hire Form for Florida Department of Revenue

Name of Employee k f (1 24 at st A

Address 555) NM. Wins ates Pow

Roconvt C34eek Fl 33073

Social Security # aan

Date of Hire O LL I %

Date of Birth O s/o Lb ?

Name of Employer:

South F] Nien iT Sith Associates, Inc.
2345 W. Hillsboro Blvd, Suite 201
Deerified Beach, FL 33442

FEIN :
XX-XXXXXXX

Unemployment Compensation Account #
2186486

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(Rev. 7/13/05)
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